UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE
UNITED STATES OF AMERICA )
) No. 2:19-CR-196
Vv. )
) JUDGE GREER
TERRA LYNN FETHERMAN )
PLEA AGREEMENT

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, Terra Lynn Fetherman, and the defendant’s attorney, Bryce W.
McKenzie, have agreed upon the following:

1, The defendant will plead guilty to the following count(s) in the indictment:

a) The lesser included offense of Count One, that is, conspiracy to distribute five
grams or more of methamphetamine, its salts, its isomers, and salts of its isomers, in violation of
21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B).

The punishment for this offense is as follows: A minimum mandatory five years up to 40
years imprisonment, a fine of up to $5,000,000.00, a minimum of four years up to life on supervised
release, and a $100.00 mandatory assessment fee.

2 In consideration of the defendant’s guilty plea(s), the United States agrees to move
the Court at the time of sentencing to dismiss the remaining count(s) against the defendant in this
indictment.

3. The defendant has read the indictment, discussed the charges and possible defenses
with defense counsel, and understands the crime(s) charged.

4, In support of the defendant’s guilty plea, the defendant agrees and stipulates to the
following facts, which satisfy the offense elements. These are the facts submitted for purposes of

G
4.

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 1of9 PagelD #: 337
the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case. Other
facts may be relevant to sentencing. Both the defendant and the United States retain the right to
present additional facts to the Court to ensure a fair and appropriate sentence in this case.

The defendant was a member of a drug trafficking organization led by co-defendant Joshua
Davis during the time frame set forth in the indictment.

Through text message search warrants and search warrants for the contents of phones seized
during the investigation of this case, agents have reviewed numerous text messages involving the
defendant and other co-conspirators.

On August 5, 2018, Defendant sent a text message to co-defendant Connie Terry, indicating
that she had money for the purchase of methamphetamine. Terry indicated that co-defendant James
Graybeal had been complaining about customers showing up at their house, and that she would meet
Defendant elsewhere. Defendant sent a text to Terry to inform her that she had to meet a customer,
and would call Terry when she was close.

On August 8, 2018, Defendant texted Terry, indicated that she had $2,000 and wanted to
purchase methamphetamine. Terry indicated that they would meet at the Walmart on Fort Henry
Drive. Defendant told Terry that she needed at least four ounces of methamphetamine.

On August 13, 2018, Terry texted Defendant and asked how much methamphetamine the
Defendant needed. Defendant responded that she needed five ounces. Defendant indicated that she
had a customer for an ounce of methamphetamine for $800 waiting on her. Defendant sent a text to
Terry telling her that she had another customer willing to purchase three more ounces of
methamphetamine for $900 an ounce, for a total amount of $3,600. Defendant told Terry that they
could make money off the deal and to hurry up so they would not lose the customer. Terry sent a

message to Defendant agreeing to the deals, and said that she was on her way from Bristol.

or
A

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 20f9 PagelD #: 338
On August 17, 2018, detectives interviewed co-defendant Warren Edwards at the Kingsport
Police Department. Edwards said that Connie Graybeal was the main source of methamphetamine
in Kingsport, and that Defendant raised Connie.

On August 21, 2018, the Kingsport Vice and Narcotics Unit conducted a controlled purchase
of methamphetamine from Defendant utilizing a Confidential Informant (CI). The CI arranged to
purchase a gram of methamphetamine from Defendant for $60.00. The CI was also equipped with
audio and video recording devices to capture the buy. The CI was given $60 in recorded money and
met Defendant at the Valero gas station on Lynn Garden Drive. After the controlled purchase was
complete, the methamphetamine was placed in evidence and sent to the TBI laboratory for analysis.

On December 20, 2018, Defendant texted co-defendant Victor Ray and indicated that she
had morphine that she wanted to trade for methamphetamine. Ray inquired about the quantities and
agreed to a trade.

On February 8, 2019, agents interviewed a confidential source (“CS”) at the Sullivan County
Jail. CS stated that he purchased a % to % ounce of methamphetamine from Defendant at a rate of
twice a week, for approximately two years.

On March 12, 2019, Defendant texted co-defendant Adam Bear. Defendant indicated that
she was picking up some money and needed to meet Bear. They agreed to meet at the Autozone on
Stone Drive to complete a deal for methamphetamine.

The defendant admits that she conspired with at least one other person to distribute
methamphetamine as charged in the indictment, and that she is responsible for the distribution of at
least 35 grams but less than 50 grams of methamphetamine (actual).

5. The defendant is pleading guilty because the defendant is in fact guilty.

| 4,

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 30f9 PagelD #: 339
The defendant understands that, by pleading guilty, the defendant is giving up several rights,
including:

a) the right to plead not guilty;

b) the right to a speedy and public trial by jury;

c) the right to assistance of counsel at trial;

d) the right to be presumed innocent and to have the burden of proof placed on
the United States to prove the defendant guilty beyond a reasonable doubt;

e) the right to confront and cross-examine witnesses against the defendant;

f) the right to testify on one’s own behalf, to present evidence in opposition to
the charges, and to compel the attendance of witnesses; and

g) the right not to testify and to have that choice not used against the defendant.

6. The parties agree that the appropriate disposition of this case would be the following

as to each count:

a) The Court may impose any lawful term(s) of imprisonment, any lawful
fine(s), and any lawful term(s) of supervised release up to the statutory maximum(s);

b) The Court will impose special assessment fees as required by law; and

c) The Court may order forfeiture as applicable and restitution as appropriate.
No promises have been made by any representative of the United States to the defendant as to what
the sentence will be in this case. Any estimates or predictions made to the defendant by defense
counsel or any other person regarding any potential sentence in this case are not binding on the
Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant’s
guilty plea(s). The defendant understands that the sentence in this case will be determined by the

Court after it receives the presentence investigation report from the United States Probation Office

(SO
4 tt.

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 40f9 PagelD #: 340
and any information presented by the parties. The defendant acknowledges that the sentencing
determination will be based upon the entire scope of the defendant’s criminal conduct, the
defendant’s criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

a Given the defendant’s agreement to plead guilty, the United States will not oppose a
two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of the
Sentencing Guidelines. Further, if the defendant’s offense level is 16 or greater, and the defendant
is awarded the two-level reduction pursuant to Section 3E1.1(a), the United States agrees to move,
at or before the time of sentencing, the Court to decrease the offense level by one additional level
pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant engage in any
conduct or make any statements that are inconsistent with accepting responsibility for the
defendant’s offense(s), including violations of conditions of release or the commission of any
additional offense(s) prior to sentencing, the United States will be free to decline to make such
motion, to withdraw that motion if already made, and to recommend to the Court that the defendant

not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing

Guidelines.
8. The defendant agrees to pay the special assessment in this case prior to sentencing.
9, Financial Obligations. The defendant agrees to pay all fines and restitution imposed

by the Court to the Clerk of Court. The defendant also agrees that the full fine and/or restitution
amount(s) shall be considered due and payable immediately. If the defendant cannot pay the full
amount immediately and is placed in custody or under the supervision of the Probation Office at any
time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the
authority to establish payment schedules to ensure payment of the fine and/or restitution. The ;
ip
5 Sf

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 5of9 PagelD#: 341
defendant further agrees to cooperate fully in efforts to collect any financial obligation imposed by
the Court by set-off of federal payments, execution on non-exempt property, and any other means
the United States deems appropriate. The defendant and counsel also agree that the defendant may
be contacted post-judgment regarding the collection of any financial obligation imposed by the
Court without notifying the defendant’s counsel and outside the presence of the defendant’s counsel.
In order to facilitate the collection of financial obligations to be imposed with this prosecution, the
defendant agrees to disclose fully all assets in which the defendant has any interest or over which
the defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or
other third party. In furtherance of this agreement, the defendant additionally agrees to the
following specific terms and conditions:

a) If so requested by the United States, the defendant will promptly submit a
completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that such financial statement and disclosures will be complete, accurate,
and truthful.

b) The defendant expressly authorizes the U.S. Attommey’s Office to obtain a
credit report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

c) If so requested by the United States, the defendant will promptly execute
authorizations on forms provided by the U.S. Attomey’s Office to permit the U.S. Attorney’s Office
to obtain financial and tax records of the defendant.

10. The defendant acknowledges that the principal benefits to the United States of a plea
agreement include the conservation of limited government resources and bringing a certain end to
the case. Accordingly, in consideration of the concessions made by the United States in this .
GO
6 4

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 6o0f9 PagelD #: 342
agreement and as a further demonstration of the defendant’s acceptance of responsibility for the
offense(s) committed, the defendant voluntarily, knowingly, and intentionally agrees to the
following:

a) The defendant will not file a direct appeal of the defendant’s conviction(s) or
sentence with one exception: The defendant retains the right to appeal a sentence imposed above
the sentencing guideline range determined by the Court or above any mandatory minimum sentence
deemed applicable by the Court, whichever is greater. The defendant also waives the right to appeal
the Court’s determination as to whether the defendant’s sentence will be consecutive or partially
concurrent to any other sentence.

b) The defendant will not file any motions or pleadings pursuant to 28 U.S.C.

§ 2255 or otherwise collaterally attack the defendant’s conviction(s) or sentence, with two
exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial
misconduct and (ii) ineffective assistance of counsel.

c) The defendant will not, whether directly or by a representative, request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the Privacy Act of 1974,

5 U.S.C. Section 552a.

ll. This plea agreement becomes effective once it is signed by the parties and is not
contingent on the defendant’s entry of a guilty plea. If the United States violates the terms of this
plea agreement, the defendant will have the right to withdraw from this agreement. If the defendant

violates the terms of this plea agreement in any way (including but not limited to failing to enter

guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any '
7 Vt

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 7of9 PagelD#: 343
court order or any local, state or federal law pending the resolution of this case), then the United
States will have the right to void any or all parts of the agreement and may also enforce whatever
parts of the agreement it chooses. In addition, the United States may prosecute the defendant for
any and all federal crimes that the defendant committed related to this case, including any charges
that were dismissed and any other charges which the United States agreed not to pursue. The
defendant expressly waives any statute of limitations defense and any constitutional or speedy trial
or double jeopardy defense to such a prosecution. The defendant also understands that a violation of
this plea agreement by the defendant does not entitle the defendant to withdraw the defendant’s
guilty plea(s) in this case.

12. The United States will file a supplement in this case, as required in every case by the
Local Rules of the United States District Court for the Eastern District of Tennessee, even though
there may or may not be any additional terms. If additional terms are included in the supplement,
they are hereby fully incorporated herein.

13. This plea agreement and supplement constitute the full and complete agreement and
understanding between the parties concerning the defendant’s guilty plea to the above-referenced
charge(s), and there are no other agreements, promises, undertakings, or understandings between the
defendant and the United States. The parties understand and agree that the terms of this plea
agreement can be modified only in writing signed by all of the parties and that any and all other
promises, representations, and statements whether made before, contemporaneous with, or after this

agreement, are null and void.

Te
SH.

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 80f9 PagelD #: 344
J. DOUGLAS OVERBEY

 

 

UNITED STATES ATTORNEY
2. 21-20v0 By: CoA ti
Date J/GREGORY BOWMAN

Assistant United States Attorney

LNA (2G 2? NS A

 

 

 

Date TERRA L FETHERMAN
Defendant
Lfia [ le
Date BRYCE WAMCKENZIE
Attorney for the Defendant
9

Case 2:19-cr-00196-JRG-CRW Document 229 Filed 02/24/20 Page 9of9 PagelD #: 345
